                Case 2:13-cr-00247-TLN Document 31 Filed 01/21/14 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     ANGEL MARTINEZ-DIAZ
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-13-247 JAM
 9
                                                     )
                                                     )
10           Plaintiff,                              )       Stipulation and Order Continuing Status
                                                     )       Conference as to Defendant Angel Martinez-
11
     v.                                              )       Diaz.
                                                     )
12
     MARTINEZ-CHAIREZ, et al.,                       )
                                                     )       Date: February 25, 2014
13
                                                     )       Time: 9:45 a.m.
             Defendants.                             )       Judge: Honorable John A. Mendez
14
                                                     )
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Richard J. Bender,
18

19   Assistant United States Attorney, together with counsel for defendant Angel Martinez-Diaz, John

20   R. Manning, Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on January 21, 2014
22
          2. By this stipulation, defendant now move to continue the status conference until February
23

24
     25, 2014 at 9:45 a.m., and to exclude time between January 21, 2014 and February 25, 2014

25   under the Local Code T-4 (to allow defense counsel time to prepare). It is anticipated Mr.
26
     Martinez-Diaz will entering a guilty plea at the next court appearance.
27
          3. The parties agree and stipulate, and request the Court find the following:
28




                                                         1
          Case 2:13-cr-00247-TLN Document 31 Filed 01/21/14 Page 2 of 3


     a.    This case currently contains over a 100 pages of discovery as well as two DVD's
 1

 2        with videos and one CD of audio recordings (the recordings are in Spanish).

 3   b. Counsel for the defendants need additional time to review the discovery, conduct
 4
          investigation, and interview potential witnesses.
 5
     c. Mr. Martinez-Diaz is from Honduras. During the course of meeting with Mr.
 6

 7
          Martinez-Diaz, it became apparent issues surrounding his immigration status were

 8        quite complicated. The court authorized funding for the UC Davis Immigration
 9        Clinic to review Mr. Martinez-Diaz's immigration circumstances and provide the
10
          defense with a report/analysis. Such a review is necessary in order to adequately
11
          advise Mr. Martinez-Diaz of the potential immigration consequences he faces with a
12

13        guilty plea (or verdict). The report/analysis has been prepared by the clinic, but

14        counsel for Mr. Martinez-Diaz needs additional time to review the analysis and
15
          recommendation. I will need additional time to meet with Mr. Martinez-Diaz (with
16
          an interpreter). The date requested herein was selected as it will accommodate my
17
          trial schedule (Albright et al 11-226 TLN; commencing on 2/3/14, with an estimated
18

19        duration of approximately 10 court days) and still allow sufficient time to meet with

20        Mr. Martinez-Diaz in order to review the information provided by the Immigration
21
          Clinic as well the terms, conditions, and consequences of the proposed plea
22
          agreement
23
     d. Counsel for defendants believe the failure to grant a continuance in this case would
24

25        deny defense counsel reasonable time necessary for effective preparation, taking into

26        account the exercise of due diligence.
27
     e. The Government does not object to the continuance.
28




                                               2
               Case 2:13-cr-00247-TLN Document 31 Filed 01/21/14 Page 3 of 3


            f. Based on the above-stated findings, the ends of justice served by granting the
 1

 2              requested continuance outweigh the best interests of the public and the defendants in

 3              a speedy trial within the original date prescribed by the Speedy Trial Act.
 4
            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
 5
                Section 3161(h)(7)(A) within which trial must commence, the time period of January
 6

 7
                21, 2014 to February 25, 2014 is deemed excludable pursuant to 18 United States

 8              Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code T-4
 9              because it results from a continuance granted by the Court at defendant’s request on
10
                the basis of the Court’s finding that the ends of justice served by taking such action
11
                outweigh the best interests of the public and the defendants in a speedy trial.
12

13      4. Nothing in this stipulation and order shall preclude a finding that other provisions of the

14   Speedy Trial Act dictate that additional time periods are excludable from the period within which
15
     a trial must commence.
16
        IT IS SO STIPULATED.
17
     Dated: January 16, 2014                                      /s/ John R. Manning             _
18
                                                                  JOHN R. MANNING
19                                                                Attorney for Defendant
                                                                  Angel Martinez-Diaz
20
     Dated: January 16, 2014                                      Benjamin B. Wagner
21
                                                                  United States Attorney
22
                                                          by:     /s/ Richard J. Bender
23                                                                RICHARD J. BENDER
                                                                  Assistant U.S. Attorney
24
                                                  ORDER
25

26
            IT IS SO FOUND AND ORDERED this 17th day of January, 2014.
27

28
                                                          /s/ John A. Mendez______________
                                                          HONORABLE JOHN A. MENDEZ
                                                          U. S. DISTRICT COURT JUDGE

                                                      3
